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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )                  8:13CR314
                       Plaintiff,                 )
                                                  )
       vs.                                        )                     ORDER
                                                  )
JOHNNY MARTINEZ,                                  )
ANISHA MARTINEZ,                                  )
ANTHONY WEINRICH,                                 )
MARK PIPER, and                                   )
JACKLYNN WALKER,                                  )
                                                  )
                       Defendants.                )
       This matter is before the court on the motion for an extension of time by defendant
Anthony Weinrich (Weinrich) (Filing No. 111). Weinrich seeks until April 3, 2014, in which to file
pretrial motions in accordance with the progression order. Weinrich's counsel represents that
Weinrich will file an affidavit wherein he consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy Trial Act.
Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Weinrich's motion for an extension of time (Filing No. 111) is granted.
Weinrich is given until on or before April 3, 2014, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising as a
result of the granting of the motion, i.e., the time between March 4, 2014, and April 3, 2014,
shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 4th day of March, 2014.
                                                      BY THE COURT:

                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
